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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

ALFRED CHESTNUT, et al.,                            )
                                                    )
                              Plaintiffs,           )
                                                    )
               v.                                   )       Civil Action No. LKG-20-2342
                                                    )
DONALD KINCAID, et al.,                             )
                                                    )
                              Defendants.           )
                                                    )

                     CERTIFICATE OF DISCOVERY CONFERENCE

       At 10:00 AM, on December 15, 2021, Mayer Engelsberg, counsel for Individual

Defendants, and Chad Bowman and Joe Slaughter, counsel for The New Yorker, held a discovery

conference via telephone and attempted to resolve the parties’ discovery dispute.

       The parties were unable to resolve their dispute and the Individual Defendants therefore

submit the following issues to the Court for resolution: 1) The New Yorker’s refusal to produce a

privilege log for records responsive to subpoena, withheld on the basis of privilege, 2) The New

Yorker’s refusal to produce records responsive to subpoena.



Date: December 22, 2021                             Respectfully submitted,


                                                    /s/ Mayer Engelsberg
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                                                    Avi T. Kamionski, Bar No. 20703
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                                  Attorneys for Donald Kincaid, Bryn Joyce, &
                                  John Barrick




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 22, 2021, I caused the foregoing document to be

electronically filed with the Court’s CM/ECF system, which will send an electronic copy of the

same to all counsel of record, and that I served a copy of the same on counsel for Conde Nast

Entertainment and The New Yorker, Advance Magazine Publishers Inc. via email.

                                                           /s/ Mayer Engelsberg




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